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                         UNITED STATES DISTRICT COURT
                      FOR THE FEDERAL DISTRICT OF KANSAS

ROBERT BLAUROCK,               )
                               )
     Plaintiff,                )
                               )
     vs.                       ) Case No. 6:22-cv-01196
                               )
SOUTHWIND SURGICAL GROUP,      )
BRANDON S. CUNNINGHAM, M.D.,   )
ALAINA D. DRESSLER, P.A.,      )
BARD DAVOL INC., CORIZON LLC, )
CORIZON INC., CENTURION        )
HEALTH CARE PROVIDER/K.D.O.C., )
                               )
      Defendants.              )

                    NOTICE OF WITHDRAWAL OF APPEARANCE

       COMES NOW Samuel Bennett of Norris Keplinger Hicks & Welder, LLC, and hereby

withdraws as counsel for defendant Centurion of Kansas, LLC, (identified in Plaintiff’s Petition

as “Centurion Health Care Provider/K.D.O.C.”).

       John Hicks of the same firm remains as lead counsel for defendant Centurion of Kansas,

LLC. Pursuant to Local Rule 83.5.5(c) and Fed. R. Civ. Pro. 5(b), service of this document was

made on Centurion of Kansas, LLC, through their continuing attorneys.


                                            Respectfully Submitted,

                                            NORRIS KEPLINGER
                                            HICKS & WELDER, LLC

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                                            CENTURION OF KANSAS, LLC


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                                 CERTIFICATE OF SERVICE
        I hereby certify that on this 5th day of October, 2022, the above and foregoing document
was filed via the Court’s ECF system, which sent notification of such filing to all counsel of record.
A copy was served on the Plaintiff and other parties by depositing the same in the United States
Mail, first class postage prepaid, addressed as follows:

       Plaintiff pro se        Robert D. Blaurock
                               #86516
                               El Dorado Correctional Facility
                               17737 S.E. 54 Hwy.
                               P.O. Box 311
                               El Dorado, KS 67042

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       c/o CT Corporation System
       300 Montvue Road
       Knoxville, Tennessee 37919-5546

       Corizon, LLC
       c/o CT Corporation System
       300 Montvue Road
       Knoxville, Tennessee 37979-5546

       Kansas Department of Corrections
       714 SW Jackson, Suite 300
       Topeka, Kansas 66603

       Southwind Surgical Group
       2500 Canterbury Drive, Suite 202
       Hays, Kansas 67601

And copies sent via email as follows:

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      ATTORNEYS FOR DEFENDANTS BRANDON CUNNINGHAM,
      M.D. AND ALAINA DRESSLAR, P.A.




                                         ___/s/ Sam Bennett
                                         Attorney for Centurion of Kansas, LLC




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